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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 JATOON MOSS, as Personal                  )
 Representative for the ESTATE OF          )
 CRAIG RIDLEY, on behalf of the            )
 Estate and Survivors, Jatoon Moss and     )
 Gary Ridley,                              )
                                           )
           Plaintiff,                      )   CASE NO.: 3:21-cv-1026-MMH-MCR
                                           )
 v.                                        )
                                           )
 RICKY DIXON, as Secretary of the          )
 Florida Department of Corrections, et     )
 al.,                                      )
                                           )
       Defendants.                         )
 _______________________________/          )

 DEFENDANTS COREY AND DURE’S REQUEST FOR ORAL ARGUMENT

         Pursuant to Local Rule 3.01(h), Defendants Amanda Corey and Jean Dure

(collectively, the “Medical Defendants”) hereby request oral argument on their

Motion to Dismiss (ECF No. 33), Plaintiff Jatoon Moss’s response (ECF No. 40),

and the Medical Defendants’ Reply (ECF No. 51). The Medical Defendants request

1 hour for the oral argument.

                                         Respectfully submitted:
                                         /s/ Brian Wahl
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                                          Counsel for Defendants, Amanda Corey and
                                          Jean Dure

                       LOCAL RULE 3.01(g) CERTIFICATION
         Undersigned counsel certifies he conferred with counsel for Plaintiff via e-mail

on April 25, 2022. Undersigned counsel did not receive a response from Plaintiff’s

counsel prior to filing the accompanying reply and this request. Pursuant to Local Rule

3.01(g)(3), undersigned counsel will continue to attempt to confer with Plaintiff’s

counsel and will supplement this certification.




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